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                                  IN THE UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF ARKANSAS
                                         FAYETTEVILLE DIVISION

                UNITED STATES OF AMERICA

                V.                       NO. 10-50067-003

                TIFFNEY R. FEDELE

                           MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

                      On July 12, 2012, the Defendant/Movant Tiffney R. Fedele

                (hereinafter “the Defendant”) filed a 28 U.S.C. § 2255 motion.

                (Doc. 98).    The Government has filed a Response (Doc. 115), and

                the matter is now ripe for consideration. The undersigned, being

                well and sufficiently advised, finds and recommends as follows

                with respect thereto:

                PROCEDURAL BACKGROUND:

                      On   September      15,     2010,       a     twelve-count       Superceding

                Indictment    (Doc.     29)     was   filed       against     Defendant     and   Co-

                Defendants James Mitchell and Jason Fedele.                         Defendant was

                charged in Count One with conspiring to use an interstate

                facility     to   distribute      proceeds         of   an    unlawful      activity

                (prostitution), and to promote, manage, establish, carry on and

                facilitate such unlawful activity, in violation of 18 U.S.C. §

                1952(a)(1)    &   (3)    (the    Travel       Act),     and   18   U.S.C.    §    371.

                Defendant was charged in Counts Two and Twelve with laundering

                and conspiring to launder the proceeds of the above unlawful

                activity, in violation of 18 U.S.C. § 1956(a)(1) & (h).                             On


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                December 6, 2010, Defendant pled guilty to Counts One and Two.

                (Doc. 62).

                       A sentencing hearing was held on July 6, 2011, and Judgment

                was entered on July 7, 2011, wherein Defendant was sentenced to

                twenty-one (21) months imprisonment on Count One and twenty-one

                (21)     months    imprisonment     on     Count   Two,    terms    to    run

                concurrently; three (3) years supervised release on Counts One

                and Count Two, terms to run concurrently; a $200.00 Assessment;

                and a $4,000.00 fine. (Doc. 83).            No appeal from the Judgment

                was taken.

                GROUNDS FOR § 2255 MOTION:

                       In the motion now before the Court, which Defendant filed

                pro se, Defendant asserts the following grounds for relief:

                       Ground One: Defendant’s conviction and sentence must be

                vacated and dismissed based on the Supreme Court’s ruling in

                United States v. Santos, 553 U.S. 507 (2008)(plurality opinion);

                       Ground Two: Defendant’s conviction and sentence can not

                stand because a conspiracy charge can not be added to the

                substantive charge;

                       Ground Three: Defendant is actually innocent-her plea of

                guilty    was     unknowing   and   involuntary     due    to   ineffective

                assistance of counsel;

                       Ground Four: Prosecutorial Misconduct - the prosecutor

                ignored internal policies required to be followed, found in the


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                United States Attorneys’ Manual;

                      Ground Five: Defendant was illegally sentenced under United

                States Sentencing Guidelines (U.S.S.G.) 2G1.1 and counsel was

                ineffective in failing to object to the application of this

                Guideline;

                      Ground     Six:    Defendant’s         Double    Jeopardy     rights     were

                violated.

                PROCEDURAL BAR:

                      The    Government      argues     that,     with      the   exception     of

                Defendant’s ineffective assistance of counsel claims (asserted

                in Grounds Three and Five), Defendant’s remaining claims are

                procedurally barred, as she did not file a direct appeal and

                assert these claims on appeal.               Issues not raised in a direct

                appeal and raised for the first time in a § 2255 motion are

                procedurally defaulted.          See Meeks v. United States, 742 F.3d

                841, 844 (8th Cir. 2014).          A defendant must demonstrate actual

                innocence or cause and prejudice to excuse a procedural default.

                Id.       As discussed below, the undersigned sees no merit to

                Defendant’s contention that she is actually innocent of the

                charges     to   which    she   pled   guilty,        and   Defendant    has   not

                demonstrated any cause for her failure to raise her claims on

                direct appeal.      Accordingly, Grounds One, Two, Four and Six are

                procedurally defaulted.         While it is, therefore, unnecessary to




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                address    the   merits   of   these     claims,    the    undersigned     will

                nevertheless do so.

                      GROUND ONE: DEFENDANT’S CONVICTION AND SENTENCE MUST BE

                VACATED AND DISMISSED BASED ON THE SUPREME COURT’S RULING IN

                UNITED STATES V.SANTOS:

                      At the time Santos was decided in 2008, the federal money

                laundering statute, 18 U.S.C. § 1956, did not define the term

                “proceeds.”      In Santos, a divided Supreme Court held that the

                term proceeds referred to profits rather than receipts, as

                applied in the illegal gambling context.             Defendant argues that

                she “was only charged with conspiring . . . to distribute the

                ‘proceeds’ of an unlawful activity and [her case] is analogous

                to Santos.”      (Doc. 98 at pg. 4.)

                      In 2009, following the Supreme Court’s holding in Santos,

                Congress amended § 1956 to define the term proceeds.                      Fraud

                Enforcement      and   Regulatory    Act     of   2009,   Pub.L.   111-21,     §

                2(f)(1)(B), 123 Stat. 1617, 1618.                 As amended, the statute

                defines “proceeds” broadly to include gross receipts. 18 U.S.C.

                § 1956(c)(9).      As Defendant pled guilty in 2010, the amended

                statutory definition and not the Santos definition of proceeds

                is applicable to her case.          Accordingly, the undersigned finds

                that Defendant’s Ground One is without merit.




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                      GROUND TWO: DEFENDANT’S CONVICTION AND SENTENCE CAN NOT

                STAND BECAUSE A CONSPIRACY CHARGE CAN NOT BE ADDED TO THE

                SUBSTANTIVE CHARGE:

                      Defendant argues that “an agreement by two persons to

                commit a particular crime cannot be prosecuted as a conspiracy

                when the crime is of such a nature as to necessarily require the

                participation of two persons for its commission.”                (Doc. 98 at

                pg. 5.)      Defendant asserts that she “could not commit the

                substantive offense alone and required the participation of

                James   B.   Mitchell     (and   others)   and    thus   falls    under    this

                exception.”       (Id.)      Defendant     is    essentially     arguing   the

                application of what is known as “Wharton’s Rule.”                See Iannelli

                v. United States, 420 U.S. 770, 781-82 (1975).

                      The substantive offense forming the basis for Defendant’s

                conviction on Count One (a violation of 18 U.S.C. § 1952(a))

                “can be committed by a person acting alone as well as by persons

                acting in concert.”       United States v. Pezzino, 535 F.2d 483, 484

                (9th Cir.), cert. denied, 429 U.S. 839 (1976).                    As to the

                substantive offense forming the basis for Defendant’s conviction

                on Count Two (a violation of 18 U.S.C. § 1956), § 1956(h)

                specifically authorizes a conspiracy charge.             See United States

                v. Nunez, 2006 WL 1233940, *6 (S.D. N.Y. 2006), aff’d, 271 Fed.

                Appx. 66 (2nd Cir. 2008).           Additionally, Wharton’s Rule is

                inapplicable when the conspiracy involves the cooperation of a


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                greater number of persons than is required for commission of the

                substantive offense.        See Iannelli, 420 U.S. at 775.             In the

                present case, numerous individuals in addition to Defendant

                participated in the conspiracy.             Thus, Wharton’s Rule does not

                bar   Defendant’s      conspiracy   convictions     and      Ground   Two,   is

                therefore, without merit.

                GROUND THREE: DEFENDANT IS ACTUALLY INNOCENT-HER PLEA OF GUILTY
                WAS UNKNOWING AND INVOLUNTARY DUE TO INEFFECTIVE ASSISTANCE OF
                COUNSEL;

                      Defendant argues that the Government was required, under

                Counts 1 and 2, to prove that she “persuaded” or “induced” or

                “enticed” or “coerced” the escorts to have sexual relations with

                clients, and that there was no proof of such, nor did the

                prosecution     allege    Defendant     was    guilty   of    such    conduct.

                Accordingly, Defendant argues that because she was actually

                innocent, her counsel was ineffective and her plea was not

                voluntary or knowing.

                      To establish an ineffective assistance of counsel claim, a

                defendant must demonstrate that counsel’s representation fell

                below an objective standard of reasonableness, and that the

                defendant was prejudiced by counsel’s deficient performance.

                See Strickland v. Washington, 466 U.S. 668, 687 (1984).                 As to

                the performance prong of the inquiry, the scrutiny of counsel’s

                performance must be highly deferential, without the distorting

                effects of hindsight, and there is a strong presumption that


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                counsel’s conduct fell within the wide range of reasonable

                professional assistance.       Id. at 689.     As to the prejudice prong

                of the inquiry, a defendant must demonstrate that the outcome of

                the   plea   process   would    have    been   different   with   competent

                advice. Id.     Specifically, a defendant must show that there is

                a reasonable probability that, but for counsel’s errors, she

                would not have pleaded guilty and would have insisted on going

                to trial.    See Hill v. Lockhart, 474 U.S. 52, 59 (1985); Watson

                v. United States, 682 F.3d 740, 745 (8th Cir. 2012).

                      In the plea agreement, Defendant stipulated that:

                      Mitchell and the other co-conspirators knew that the
                      prostitutes were engaging in sexual acts for monetary
                      payment and that the prostitution enterprise used
                      facilities of interstate commerce to promote, manage,
                      carry-on and otherwise facilitate the prostitution
                      enterprise. . . . Mitchell and his co-conspirators
                      utilized banks and other financial institutions to
                      conduct financial transactions with the proceeds of
                      the prostitution enterprise both to conceal and
                      disguise the nature, source, ownership and control of
                      the proceeds and to promote the carrying-on of the
                      prostitution enterprise. . . .

                      The investigation identified [Defendant] as a[n]
                      employee/business partner of Mitchell who conspired
                      with Mitchell and others to operate the prostitution
                      enterprise. From approximately January 2009 to August
                      2009, [Defendant] acted as an employee of the
                      prostitution   enterprise.       During   this   time,
                      [Defendant] answered phones of the enterprise,
                      directed prostitutes to calls, drove prostitutes to
                      calls,   collected   money   from   prostitutes,   and
                      interviewed and hired prostitutes. From approximately
                      January 2010 until her arrest on July 23, 2010,
                      [Defendant] acted as a business partner with Mitchell
                      in the prostitution enterprise. During this period of
                      time, [Defendant] directly operated the prostitution
                      enterprise for Mitchell[,] including conducting

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                      financial transactions for the prostitution enterprise
                      such as making deposits of proceeds derived from the
                      prostitution business into bank accounts in the
                      Western District of Arkansas and subsequently using
                      these bank accounts to pay expenses of the business
                      and to otherwise promote and facilitate the ongoing
                      operation of the prostitution enterprise.          For
                      example, on May 10, 2010, in the Western District of
                      Arkansas, Fayetteville Division, [Defendant] deposited
                      check #4370, in the amount of $180.00 and drawn on an
                      Arvest Bank checking account, into a Bank of America
                      checking account ending in #1218. [Defendant] knew
                      that the $180.00 check represented proceeds from an
                      act of prostitution paid to a prostitute by a customer
                      for performing a sexual act at his residence in
                      Springdale, Arkansas on April 30, 2010.

                (Doc. 62 at pgs. 5-6, 8-9) (emphasis added).

                      To establish a violation of the Travel Act, the Government

                was required to prove: (1) an unlawful activity; (b) knowledge

                of the Defendant of the unlawful activity; and (c) the use of

                interstate commerce (1) to facilitate the carrying on of the

                unlawful activity or, (2) to distribute the proceeds.              18 U.S.C.

                § 1952(a); United States v. Corona, 885 F.2d 766, 771 (11th Cir.

                1989), cert. denied, 494 U.S. 1091 (1990).               Thus, contrary to

                Defendant’s assertion, the Government did not have to prove that

                the   Defendant    persuaded,     induced,    enticed,    or   coerced    the

                escorts to have sexual relations with clients; rather, the

                Government only had to prove that            Defendant knew the escorts

                were engaging in acts of prostitution and that Defendant used a

                facility of interstate commerce to facilitate the carrying on of

                this activity or to distribute the proceeds of this activity.

                Defendant admitted having knowledge of the escorts engaging in

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                acts of prostitution and also admitted the remaining elements in

                the plea agreement’s stipulation of facts.

                      With respect to the money laundering count, the Government

                had to prove: (1) defendant conducted, or attempted to conduct

                a financial transaction that affected interstate or foreign

                commerce; (2) the financial transaction involved proceeds of

                unlawful activity; (3) defendant knew the property represented

                proceeds of some form of unlawful activity; and (4) defendant

                conducted or attempted to conduct the financial transaction

                knowing the transaction was intended to promote the carrying on

                of illegal activity.       See 18 U.S.C. § 1956(a)(1)(A)(i); United

                States v. Diaz-Pellegaud, 666 F.3d 492, 498 (8th Cir.), cert.

                denied, 133 S. Ct. 235 (2012).        Again, Defendant admitted all of

                these elements in the plea agreement’s stipulation of facts.

                      Based upon the foregoing, Defendant has failed to establish

                her actual innocence and her ineffective assistance of counsel

                claim therefore fails.

                GROUND FOUR: PROSECUTORIAL MISCONDUCT - THE PROSECUTOR IGNORED
                INTERNAL POLICIES REQUIRED TO BE FOLLOWED FOUND IN UNITED STATES
                ATTORNEYS’ MANUAL;

                      Defendant argues that there was “no substantial federal

                interest in prosecuting her and co-conspirators.” This same

                argument was made in United States v. Dickson, 2012 WL 5845120,

                *4 (W.D. Ark. Oct. 29, 2012), adopted, 2012 WL 5862833 (2012),

                where the Court noted that the Travel Act specifically defined


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                 “unlawful activity” to include state prostitution offenses and

                 held that it was clear that Congress “intended to extend to

                 Federal Prosecution those misdemeanor acts that were engaged in

                 crossing state lines in committing these offenses.”                   Dickson,

                 2012 WL 5845120 at *3-4; 18 U.S.C. § 1952(b).

                       Consistent with the holding in Dickson, the Court believes

                 Defendant’s argument contained in Ground Four is without merit.

                 GROUND FIVE: DEFENDANT WAS ILLEGALLY SENTENCED UNDER UNITED
                 STATES SENTENCING GUIDELINES:

                       Defendant argues that U.S.S.G. § 2G1.1 requires proof of a

                 defendant “Promoting a Commercial Act” which is defined in that

                 guideline as one or all four of the following four elements...

                 (1) persuading; (2) inducing; (3) enticing; or (4) coercing a

                 person to engage in any kind of sexual activity, and that the

                 Government neither alleged nor offered any proof that Defendant

                 was guilty of any of those four elements, and counsel was

                 ineffective in failing to object.

                       “‘Promoting     a   commercial       sex   act’     means    persuading,

                 inducing,    enticing,    or   coercing      a   person    to     engage   in   a

                 commercial sex act, or to travel to engage in, a commercial sex

                 act.”    U.S.S.G. § 2G1.1, Commentary Note 1 (emphasis added).

                 The facts to which Defendant stipulated in the Plea Agreement

                 show that Defendant had knowledge that the escorts were engaging

                 in acts of prostitution and that she promoted this activity by

                 both directing prostitutes to locations of calls and driving

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                 prostitutes     to     locations      of    calls.         Thus,   the    undersigned

                 believes that § 2G1.1 was properly applied and that counsel was

                 not ineffective in failing to object to its application.

                 GROUND SIX: DEFENDANT’S DOUBLE JEOPARDY RIGHTS WERE VIOLATED.

                        Defendant contends that “[t]he charges in Counts 1 and 2

                 are,    by    nature      of    the    offense       conduct,       identical       or,

                 alternatively Count 2 is the lesser included offense included in

                 Count 1 and either way Movant alleges a “Double Jeopardy”

                 violation of the Fifth Amendment of the Constitution.” (Doc. 98

                 at p. 13).

                        In    United    States    v.    Burman,       666    F.3d   1113     (8th   Cir.

                 2012),the Eighth Circuit discusses when double jeopardy occurs:

                                            A double jeopardy violation occurs when
                                       a defendant “[is] convicted of two offenses
                                       that are ‘in law and fact the same
                                       offense.’” (citations omitted). “[a] guilty
                                       plea does foreclose a double jeopardy attack
                                       on a conviction unless ... on the face of
                                       the record the court had no power to enter
                                       the conviction or impose the sentence.”
                                       (Citation omitted). “In [United States v.]
                                       Broce, the Supreme Court made clear that by
                                       pleading guilty ‘to two counts with facial
                                       allegations   of   distinct    offenses’   a
                                       defendant concedes ‘that he has committed
                                       two separate crimes,’ and in that situation
                                       there [is] no double jeopardy violation on
                                       the face of the record.”

                 Id. at 1117(citation omitted).

                        In this case, Defendant is charged with violating 18 U.S.C.

                 § 1952(a)(3)(A) in Count One and with violating 18 U.S.C. §§

                 1956(a)(1)(A)(I) and (a)(1)(B)(I) in Count Two.                          As indicated

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                 earlier, each count requires proof of different elements and are

                 not the same. As noted by the Government, the facts and elements

                 of proof necessary to support a conviction for the Travel Act

                 violation do not include the threshold requirement for proving

                 money laundering. Clearly, violations of the Travel Act and

                 money laundering statutes are separate offenses, and Defendant’s

                 arguments in Count Six are without merit.

                 CONCLUSION:

                       Based     upon   the    foregoing          analysis,         the   undersigned

                 recommends that Defendant’s § 2255 motion (Doc. 98) be DENIED

                 and DISMISSED WITH PREJUDICE.

                       An appeal may not be taken in this matter unless the Court

                 issues a certificate of appealability, which shall be issued

                 only if "the applicant has made a substantial showing of the

                 denial of a constitutional right."                     28 U.S.C. § 2253(b) &

                 (c)(2).      A "substantial showing" is a showing that “issues are

                 debatable among reasonable jurists, a court could resolve the

                 issues differently, or the issues deserve further proceedings.”

                 Cox v. Norris, 133 F.3d 565, 569 (8th Cir. 1997), cert. denied,

                 525   U.S.    834   (1998).        Based        upon   the    above      analysis   of

                 Defendant’s § 2255 motion, the undersigned does not believe that

                 there   is    any   basis    for   the     issuance      of    a    certificate     of

                 appealability and, therefore, recommends, that a certificate of

                 appealability be denied.


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                       The parties have fourteen days from receipt of the report

                 and recommendation in which to file written objections pursuant

                 to 28 U.S.C. § 636(b)(1).      The failure to file timely objections

                 may result in waiver of the right to appeal questions of fact.

                 The parties are reminded that objections must be both timely and

                 specific to trigger de novo review by the district court.

                       DATED this 31st day of March, 2014.




                                               /s/ Erin L. Setser
                                               HON. ERIN L. SETSER
                                               UNITED STATES MAGISTRATE JUDGE




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